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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

CLEAR WITH COMPUTERS, LLC,                        )
          Plaintiff,                              )
                                                  ) Civil Action No. 6:14-cv-83-LED
v.                                                )
                                                  )
HARDI NORTH AMERICA INC.,                         )
          Defendant.                              )
                                                  )

                       ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Joint Stipulated Motion for Dismissal

With Prejudice of all claims and counterclaims asserted between plaintiff Clear With Computers,

LLC and defendant HARDI North America, Inc. in this case, and the Court being of the opinion

that said motion should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

plaintiff Clear With Computers, LLC and defendant HARDI North America, Inc. are hereby

dismissed with prejudice, subject to the terms of that certain agreement entitled

"SETTLEMENT AND LICENSE AGREEMENT" and dated June 22, 2014.

       It is further ORDERED that all attorneys' fees and costs are to be borne by the party that

incurred them.

        So ORDERED and SIGNED this 14th day of July, 2014.




                              __________________________________
                              LEONARD DAVIS
                              UNITED STATES DISTRICT JUDGE
